   Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.592 Page 1 of 14



                        UNITED STATES OF AMERICA
                      UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


DANIEL EDWARD CALLAHAN,             )
                                    )
                  Plaintiff,        )            Case No. 1:16-cv-00208-PJG
                                    )
v.                                  )            Honorable Phillip J. Green
                                    )
MUSKEGON COUNTY et al.,             )
                                    )
                  Defendants.       )
____________________________________)


                            MEMORANDUM OPINION
      Plaintiff, pro se, is pursuing this action against eight Muskegon county officials

in their official capacities, pursuant to 42 U.S.C. § 1983. Plaintiff claims various civil

rights violations relating to an investigation and criminal prosecution of plaintiff, as

well as claims that he was denied needed medications during his thirty days of

incarceration at the Muskegon County Jail. (Amended Complaint, ECF No. 26).


      This matter is before the Court on defendants Roesler, Burns, Waters,

Steinholm, Poulin, Hilson, Hedges, and Davis’ motions, pursuant to Federal Rule of

Civil Procedure 12(b)(6), to dismiss the complaint for failure to state a claim. (ECF

No. 38, 39, 41, 44, 45, 46). Plaintiff’s response is styled as a “motion for default

judgment and response to defense motion to dismiss complaint.” (ECF No. 48). The

Court has determined that the motions can be denied without the need for oral

argument. On October 10, 2016, prior to the instant motions, this Court granted

defendant Muskegon County’s motion to dismiss pursuant to Rule 12(b)(6). (ECF No.
                                           -1-
   Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.593 Page 2 of 14



43). Having considered defendants’ written submissions and plaintiff’s response, the

Court will grant defendants’ motions to dismiss.


                              Rule 12(b)(6) Standards


      Rule 12(b)(6) authorizes the dismissal of a complaint for “failure to state a

claim upon which relief can be granted.” FED. R. CIV. P. 12(b)(6). Under Rule 8(a)(2)

of the Federal Rules of Civil Procedure, a complaint must provide “ ‘a short and

plain statement of the claim showing that the pleader is entitled to relief’ in order to

‘give the defendant fair notice of what the . . . claim is and the grounds upon which

it rests.’ ” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Conley

v. Gibson, 355 U.S. 41, 47 (1957), and FED. R. CIV. P. 8(a)(2)). While this notice

pleading standard does not require “detailed” factual allegations, it does require

more than labels and the bare assertion of legal conclusions. See Twombly, 550 U.S.

at 555.


      Generally, when considering a Rule 12(b)(6) motion to dismiss, the Court

must construe the complaint in the light most favorable to plaintiff, accept the

plaintiff’s factual allegations as true, and draw all reasonable factual inferences in

plaintiff’s favor. See Total Benefits Planning Agency, Inc. v. Anthem Blue Cross &

Blue Shield, 552 F.3d 430, 434 (6th Cir. 2008). “[C]ourts ‘are not bound to accept as

true a legal conclusion couched as a factual allegation.’ ” Twombly, 550 U.S. at 555

(quoting Papasan v. Allain, 478 U.S. 265, 286 (1986)). “[A] plaintiff’s obligation to

provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and

conclusions, and a formulaic recitation of the elements of a cause of action will not

                                          -2-
   Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.594 Page 3 of 14



do.” Twombly, 550 U.S. at 555; see Ashcroft v. Iqbal, 556 U.S. 662, 680-81 (2009);

Albrecht v. Treon, 617 F.3d 890, 893 (6th Cir. 2010). Courts are not required to

conjure up unpleaded allegations, nor accept unwarranted factual inferences. See

Total Benefits Planning, 552 F.3d at 434. “To survive a motion to dismiss, [plaintiff]

must allege ‘enough facts to state a claim to relief that is plausible on its face.’ ”

Traverse Bay Area Intermediate Sch. Dist. v. Michigan Dep’t of Educ., 615 F.3d 622,

627 (6th Cir. 2010) (quoting Twombly, 550 U.S. at 570); see Casias v. Wal-Mart

Stores, Inc., 695 F.3d 428, 435 (6th Cir. 2012).


       Pro se pleadings are held to a less stringent standard than formal pleadings

drafted by licensed attorneys. See Erickson v. Pardus, 551 U.S. 89, 94 (2007);

Haines v. Kerner, 404 U.S. 519, 520 (1972). Even the lenient treatment generally

given pro se pleadings has its limits, however. See Jourdan v. Jabe, 951 F.2d 108,

110 (6th Cir. 1991). “A plaintiff must ‘plead [ ] factual content that allows the court

to draw the reasonable inference that the defendant is liable for the misconduct

alleged.’ ” Albrecht, 617 F.3d at 893 (quoting Iqbal, 556 U.S. at 678). “A plaintiff

falls short if [] he pleads facts ‘merely consistent with the defendant’s liability’ or if

the alleged facts do not ‘permit the court to infer more than the mere possibility of

misconduct[.]’ ” Albrecht, 617 F.3d at 893 (quoting Iqbal, 556 U.S. at 678-79).


                                     DISCUSSION

       Plaintiff alleges various claims against individuals of the Muskegon County

Prosecutor’s office. (Amended Complaint, ECF No. 26, PageID.292-94). The various

allegations against defendant Hedges, in his official capacity as a Muskegon County

                                            -3-
      Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.595 Page 4 of 14



Prosecutor, include prosecutorial misconduct, malicious prosecution, “violation of the

[] 6th Amendment Rights of Plaintiff when constant false Felony criminal charges had

been manufactured and added as new Felony charges,” and “making a Fair and

Speedy Trial Impossible for this Plaintiff.” (Am. Compl., ECF No. 26, PageID.292-

93); (Defs. Hilson, Hedges, and Davis’ Mot. to Dismiss, ECF No. 46-1, PageID.547-

49).

              Plaintiff alleges that defendant Hedges’ “prosecutorial misconduct” occurred

under the supervision of defendant Hilson, in his official capacity as Elected

Muskegon County Prosecutor. (Am. Compl., ECF No. 26, PageID.292); (ECF No. 46-

1, PageID.547). The allegation against defendant “Randy” Davis,1 in his capacity as

a Muskegon County Prosecutor, was the wrongful pursuit of “Attempted Resisting

Arrest charges while knowingly and willingly violating Brady Disclosure.” (Am.

Compl., ECF No. 26, PageID.293); (ECF No. 46-1, PageID.548). Finally, plaintiff

alleges that his computer was the subject of a “study” that was talked about within

the Prosecutor’s office and among visitors, but plaintiff does not identify defendants

Hilson, Hedges, or Davis as participants in the aforementioned study. (Am. Compl.,

ECF No. 26, PageID.292-93); (ECF No. 46-1, PageID.548).

              Plaintiff further alleges that defendant Waters, acting in her official capacity

as the Muskegon County Clerk, “engaged in the Obstruction of Justice when [she]


                                                            
1Defense counsel represents that there was not, nor is there currently, a “Randy”
Davis in the Muskegon County Prosecutor’s Office. (Defs. Hilson, Hedges, and
Davis’ Mot. to Dismiss, ECF No. 46-1, Page ID.548). Notwithstanding this
representation, the Court will address the claims against defendant Randy Davis
herein.
                                                               -4-
   Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.596 Page 5 of 14



failed to forward Plaintiff’s ‘Renewed Pleadings’ as properly filed by this Plaintiff with

the Muskegon County Clerks Office,” and that the “County Clerk’s office knowingly

violated the Michigan Freedom of Information Act rights of Plaintiff upon denying

access to public records to Plaintiff.” (Am. Compl., ECF No. 26, PageID.293); (Def.

Waters’ Mot. to Dismiss, ECF No. 41-1, PageID.456-57).

      The allegations against defendant Poulin, in his official capacity as the

Muskegon County Emergency Response Team Commander, include violation of

plaintiff’s 4th and 8th Amendment rights for “conducting an unreasonable search and

seizure, resulting in excessive bail in the amount of $70,000.00 and violation of

citizenship rights and equal protection of laws.”         (Am. Compl., ECF No. 26,

PageID.293); (Def. Poulin’s Mot. to Dismiss, ECF No. 45-1, PageID.517-18). Finally,

plaintiff alleges that defendants Roesler, Burns, and Steinholm, acting in their

official capacities of Muskegon County Sheriff, Jail Administrator, and Jail

Corrections Officer respectively, “enforce[d] a jail policy to absolutely deny life

sustaining medications to inmates,” including plaintiff. (Am. Compl., ECF No. 26,

PageID.294); (Defs. Roesler, Burns, and Steinholm’s Motion to Dismiss, ECF No. 38-

1, 39-1, 44-1, PageID.427, 441, 502). Assuming plaintiff’s allegations are true, and

construing them in a light most favorable to plaintiff, the complaint fails to state a

claim against the defendants.

      A.     Official Capacity Claims

      Official-capacity lawsuits “generally represent only another way of pleading an

action against an entity of which an officer is an agent.” Kentucky v. Graham, 473



                                           -5-
   Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.597 Page 6 of 14



U.S. 159, 165 (1985) (citing Monell v. New York City Dept. of Social Services, 436 U.S.

658, 690, n. 55 (1978)). An official-capacity suit is to be treated as a suit against the

entity itself. Id. at 166 (citing Brandon v. Holt, 469 U.S. 464, 471-72 (1985)); See also

Matthew v. Jones, 35 F.3d 1046, 1049 (6th Cir. 1994). “Individuals sued in their

official capacities stand in the shoes of the entity they represent,” and the suit is not

against the official personally. Alkire v. Irving, 330 F.3d 802, 810 (6th Cir. 2003);

Graham, 473 U.S. at 165-66 (cited by Baar v. Jefferson County Bd. Of Education, 476

F. App’x 621, 634 (6th Cir. 2012)). See, e.g., Constantino v. Mich. Dep’t of State Police,

707 F. Supp. 2d 724, 732 (W.D. Mich. 2010); Swartz Ambulance Serv., Inc. v. Genesee

County, 666 F. Supp. 2d 721, 726 (E.D. Mich. 2009); R.S.S.W., Inc. v. City of Keego

Harbor, 18 F. Supp. 2d 738, 750 (E.D. Mich. 1998); see also Thompson v. Connick, 578

F.3d 293 (5th Cir. 2009) (holding that it is proper to dismiss allegations against

government officers in their official capacities when the allegations duplicate claims

against the governmental entity itself).         Accordingly, plaintiff’s claims here are

duplicative of the claims against Muskegon County and are dismissed, as were the

claims against Muskegon County for failure to state a claim of municipal liability.

      B.     Qualified Immunity

      “Qualified immunity shields government officials from civil damages liability

unless the official (1) violated a statutory or constitutional right that was (2) clearly

established at the time of the challenged conduct.” Richle v. Howards, 566 U.S. 658,

664 (2012) (citing Ashcroft v. al-Kidd, 563 U.S. 731, 735 (2011)). A statutory or

constitutional right is clearly established such that a “reasonable official would [have



                                           -6-
   Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.598 Page 7 of 14



understood] that what he is doing violates that right.” Ashcroft, 563 U.S. at 741. The

“clearly established” standard supports the balance between protecting constitutional

rights and enabling government officials to effectively perform their duties. Anderson

v. Creighton, 483 U.S. 635, 640 (1987) (citing Davis v. Scherer, 468 U.S. 183, 191, 195

(1984)). If either element of the standard is not met, the official is entitled to qualified

immunity. Perez v. Oakland County, 466 F.3d 416, 427 (6th Cir. 2006); Ashcroft, 563

U.S. at 735.

         This standard, especially regarding the second prong of identifying a clearly

established right, depends on not defining the right too generally or too restrictively

to give effect to qualified immunity and the purpose of 42 U.S.C. § 1983. It is the

plaintiff’s burden to show that a right was beyond debate at the time of the violation.

Perez, 466 F.3d at 427; Ashcroft, 563 U.S. at 741. The plaintiff must “show that the

right was clearly established in light of the specific context of the case” and that the

defendant’s personal involvement and actions violated the plaintiff’s right. Perez, 466

F.3d at 427 (quoting Saucier v. Katz, 533 U.S. 194, 201 (2001)); Hayerman v. County

of Calhoun, 680 F.3d 642, 647 (6th Cir. 2012); see also Hagans v. Franklin County

Sheriff’s Office, 695 F.3d 505, 508-09 (6th Cir. 2012). It is not for the courts to “guess

at the nature of the claim[s] asserted.” Wells v. Brown, 891 F.2d 591, 594 (6th Cir.

1989).

         Even if plaintiff’s claims were not barred as duplicative of claims against

Muskegon County, plaintiff’s claims against defendants Roesler, Burns, Steinholm,

and Poulin do not defeat their qualified immunity as government officials. Plaintiff’s



                                            -7-
   Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.599 Page 8 of 14



complaint fails to allege violations of clearly established statutory or constitutional

rights. Plaintiff’s statements regarding defendants Roesler, Burns, and Steinholm’s

enforcement of a jail policy that corrections officers refer inmates to jail doctors to

determine necessary medications do not allege a violation of a specific statutory act

or constitutional right. (Am. Compl., PageID.294). Plaintiff’s statements regarding

defendant Poulin, including that he “conducted an unreasonable search and seizure

that resulted in an excessive bail and violation of citizenship rights and equal

protection of laws,” are conclusory statements that do not assert recognized legal

rights or assert facts to support these conclusions. (Id., PageID.293). The generality

of the rights violation is not at issue because plaintiff has not properly alleged a

violation of any statute or constitutional right.

      Further, plaintiff’s complaint does not provide concrete, demonstrable facts

that connect defendants Roesler, Burns, Steinholm, and Poulin to plaintiff’s alleged

violations of statutory or constitutional law. Plaintiff does not allege how defendants

Roesler, Burns, and Steinholm were personally involved in the alleged policy of

referring inmates to jail doctors to determine necessary medications or refusing to

give him “life sustaining medications” that had been prescribed for him.          (Id.,

PageID.294). Plaintiff also fails to allege when the “unreasonable search and seizure”

by defendant Poulin occurred and how defendant Poulin participated in it. Finally,

plaintiff fails to include factual allegations to link defendant Poulin – the Emergency

Response Team Commander – to the amount of bail the Court imposed in plaintiff’s

criminal case.



                                           -8-
   Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.600 Page 9 of 14



      Accordingly, plaintiff’s allegations are insufficient to defeat defendants

Roesler, Burns, Steinholm, and Poulin’s qualified immunity, so the aforementioned

defendants have immunity against plaintiff’s claims.

      C.     Quasi-judicial Immunity

      “It is well established that judges and other court officers enjoy absolute

immunity from suit on claims arising out of the performance of judicial or quasi-

judicial functions.” Pierson v. Ray, 386 U.S. 547, 553-54 (1967) (discussing immunity

for judges); Denman v. Leedy, 479 F.2d 1097, 1098 (6th Cir. 1973) (discussing

immunity for municipal court clerks). “Quasi-judicial immunity extends to those

persons performing tasks so integral or intertwined with the judicial process that

these persons are considered an arm of the judicial officer who is immune.” Bush v.

Rauch, 38 F.3d 842, 847 (6th Cir. 1994).       A court clerk performs quasi-judicial

functions when he or she accepts and dockets filings, and “authority also weighs in

favor of extending quasi-judicial immunity for any failure to timely mail an order.”

Petersen v. Garett, No. 04-60196, 2007 WL 465732 at * 3 (E.D. Mich. Feb 6, 2007)

(citing Smith v. Shelby County, 3 F. App’x 436 (6th Cir. 2001); Shavers v. Liefer, No.

1:06-cv-196, 2006 WL 1360965 at * 1 (W.D. Mich. May 15, 2006); Lyle v. Jackson, 49

F. App’x 492 (6th Cir. 2002)).

      Plaintiff’s claim against defendant Waters does not defeat her quasi-judicial

immunity in her capacity as the Muskegon County Clerk at the 14th Judicial Circuit

Court for Muskegon County, though plaintiff’s claim is also barred as duplicative of

claims against Muskegon County. Plaintiff alleges that defendant Waters “failed to



                                         -9-
     Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.601 Page 10 of 14



forward Plaintiff’s ‘Renewed Pleadings’ as properly filed by this Plaintiff with the

Muskegon County Clerks Office…” and that “the County Clerk’s office knowingly

violated the Michigan Freedom of Information Act rights of Plaintiff upon denying

access to public records to Plaintiff…” (Am. Compl., PageID.293). Though plaintiff

does not identify his “Renewed Pleadings” with a description or date filed, the 14th

Circuit Court’s docket sheet indicates that the “Renewed Pleadings” were sent via

certified mail to the 48th Circuit Court, where plaintiff’s case had been reassigned, on

August 17, 2015. (Def. Waters’ Mot. to Dismiss ECF No. 41-2, 41-6, PageID.466, 485-

86).2 Even if the renewed pleadings were not forwarded properly, filing, docketing,

and forwarding filed documents are considered quasi-judicial tasks that qualify for

quasi-judicial immunity. Further, there are no facts alleged that plaintiff tried to

access records and was denied, nor are there any facts alleged that connect defendant

Waters, or any other judicial, quasi-judicial, or government official for that matter, to

plaintiff’s alleged denial of access to public records.

              Accordingly, plaintiff’s allegations are insufficient to defeat defendant Waters’

quasi-judicial immunity, and defendant Waters has immunity against plaintiff’s

claims.



                                                            
2 In ruling on a Rule 12(b)(6) motion to dismiss, the Court may only consider “the
[c]omplaint and any exhibits attached thereto, public records, items appearing in
the record of the case and exhibits attached to defendant’s motion to dismiss so long
as they are referred to in the [c]omplaint and are central to the claims contained
therein.” Bassett v. Nat’l Collegiate Athletic Ass’n, 528 F.3d 426, 430 (6th Cir.
2008). This Court will consider the 14th Circuit Court Register of Actions and
Receipts because they are incorporated into plaintiff’s complaint by reference and
are central to defendant’s motion to dismiss.
                                                               -10-
  Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.602 Page 11 of 14



      D.     Prosecutorial Immunity

      Courts determine whether the actions of a government official, such as a

prosecutor, are protected by absolute immunity or qualified immunity by looking at

the nature of the function performed. Buckley v. Fitzsimmons, 509 U.S. 259, 269

(1993) (citing Burns v. Reed, 500 U.S. 478, 486 (1991); Forrester v. White, 484 U.S.

219, 229 (1988)). Prosecutors are absolutely immune for conduct in “initiating a

prosecution and in presenting the State’s case.” Burns, 500 U.S. at 486 (quoting

Imbler v. Pachtman, 424 U.S. 409, 431 (1976)). Additionally, absolute immunity is

extended to prosecutors for their decision to file a criminal complaint and seek an

arrest warrant and for investigative acts undertaken in direct preparation of judicial

proceedings, though it is not extended to those investigative acts typically done by

police officers. Ireland v. Tunis, 113 F.3d 1435, 1446 (6th Cir. 1997); Rogers v.

O’Donnell, 737 F.3d 1026, 1032 (6th Cir. 2013); Buckley, 509 U.S. at 273-74. The

decision to seek and pursue criminal charges, “even if malicious and founded in bad

faith, is unquestionably advocatory” and afforded absolute immunity so that

prosecutors are not inhibited from aggressively prosecuting their cases with suits for

malicious prosecution or abuse of process. Grant v. Hollenbach, 870 F.2d 1135, 1138

(6th Cir. 1989) (citing Joseph v. Patterson, 795 F.2d 549, 557 (6th Cir. 1986); Imbler,

424 U.S. at 424-25)).

      Plaintiff’s allegations against defendant Hedges, while numerous, do not fall

outside the scope of defendant Hedges’ prosecutorial immunity.          Regardless of

whether the charges pursued by defendant Hedges were false or if he violated Brady



                                         -11-
  Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.603 Page 12 of 14



Disclosure rules, these charges, as well as defendant Hedges’ alleged actions of

seeking revocation of plaintiff’s bond, prolonging legal proceedings, and conducting

investigations in preparation of judicial proceedings – including the study of

plaintiff’s computer evidence – were not outside of defendant Hedges’ prosecutorial

immunity. (Am. Compl., ECF No. 26, PageID.292-93). Plaintiff’s other allegations,

including denial of freedom, life, and liberty are not recognizable legal claims.

Additionally, plaintiff refers to malicious prosecution by defendant Hedges “while

violating Michigan State Bar Association ethics rules,” (Am. Compl., ECF No. 26,

PageID.292), violations of which are determined by the Michigan Bar Association

disciplinary authority, not this Court. See Mich. Prof’l Conduct R. 8.5 (Mich. Bar

Ass’n 2017).

      Plaintiff has provided no legal authority or alleged facts that are not protected

by defendant Hedges’ prosecutorial immunity. Accordingly, plaintiff has failed to

state a claim against this defendant.

      In regards to the claims against defendant Davis, plaintiff alleges that

defendant Davis “wrongly pursue[d] Attempted Resisting Arrest charges while

knowingly and willingly violating Brady Disclosure.” (Am. Compl., PageID.293).

Initiation and pursuit of a criminal prosecution is not outside the scope of a

prosecutor’s immunity, regardless of the prosecutor’s motive for his actions.

Suppression of exculpatory evidence in violation of the Brady Doctrine is also

protected by a prosecutor’s absolute immunity. Buckley, 509 U.S. at 269; Ireland, 113

F.3d at 1447; Koubriti v. Convertino, 593 F.3d 459, 470 (6th Cir. 2010). Plaintiff has



                                         -12-
  Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.604 Page 13 of 14



not provided any factual allegations or legal authority in support of plaintiff’s claims

against defendant Davis, and, whether the charges against plaintiff were false or

violated Brady Disclosure rules.     Accordingly, defendant Davis is immune from

plaintiff’s claims under prosecutorial immunity.

      Plaintiff’s only allegation against defendant Hilson is that defendant Hedges’

prosecutorial misconduct occurred under defendant Hilson’s supervision.            (Am.

Compl., PageID.292). As such, plaintiff does not allege facts sufficient to attach

individual liability to defendant Hilson, though he would be entitled to absolute

prosecutorial immunity regardless. Defendant Hilson is also not liable for defendant

Hedges’ conduct based on supervisor liability principles. Plaintiff has not alleged

facts that show defendant Hilson’s personal and active encouragement or tolerance

of wrongful actions by defendant Hedges, and plaintiff is unable to sustain a claim of

supervisor liability against defendant Hilson. Bass v. Robinson, 167 F.3d 1041, 1048

(6th Cir. 1999).

      Accordingly, plaintiff’s allegations are insufficient to defeat defendants Hilson,

Hedges, and Davis’ prosecutorial immunity against all of plaintiff’s claims, though

these allegations are dismissed as duplicative of the claims that were dismissed

against Muskegon County.

      E.     Plaintiff’s Motion for Default Judgment

      In plaintiff’s response to defendants’ motions to dismiss, plaintiff “requests

default judgment as a matter of law in the amount of $13,288,000.00.” (ECF No. 48,

PageID.573). Additionally, defendant attempts to persuade the Court that it should



                                         -13-
  Case 1:16-cv-00208-PJG ECF No. 53 filed 06/22/17 PageID.605 Page 14 of 14



not allow defendants’ argument of 11th Amendment immunity defense, though the

defendants’ motions to dismiss do not assert this immunity defense. (Id.); See (ECF

No. 38, 39, 41, 44, 45, 46, 51).    This Court denies plaintiff’s motion for default

judgment as a matter of law for failure to state grounds upon which to grant the

motion and because granting the defendants’ motions to dismiss terminates this case.


                                     Conclusion


      For the foregoing reasons, defendants Roesler, Burns, Waters, Steinholm,

Poulin, Hilson, Hedges, and Davis’ motions to dismiss, pursuant to Federal Rule of

Civil Procedure 12(b)(6), for failure to state a claim (ECF No. 38, 39, 41, 44, 45, 46)

are GRANTED. The aforementioned defendants are dismissed from this case, and

a judgment will be enter in favor of defendants on all plaintiffs claims.


      SO ORDERED.




Date: June 22, 2017                              /s/ Phillip J. Green
                                                PHILLIP J. GREEN
                                                United States Magistrate Judge 




                                         -14-
